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                                                                                                   E-FILED
                                                                  Monday, 14 January, 2013 11:41:10 AM
                                                                          Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

DR. MARK W. STURDY d/b/a                              )
ROCHESTER VETERINARY CLINIC                           )
on behalf of itself and a class,                      )
                                                      )
               Plaintiff,                             )       12 CV 3204
                                                      )
               v.                                     )
                                                      )       Honorable Judge Myerscough
MEDIVET-AMERICA, LLC,                                 )       Magistrate Judge Cudmore
MEDIVET, INC., and JOHN DOES 1-10,                    )
                                                      )
               Defendants.                            )

                                   FED.R.CIV.P. 41(a)(1)
                            NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff Dr. Mark W. Sturdy d/b/a Rochester Veterinary

Clinic (“Plaintiff”), hereby stipulates and agrees to the dismissal of Plaintiff’s individual claims

against Defendants with prejudice, with each party bearing its own costs. Plaintiff's class claims are

dismissed without prejudice and with each party bearing its own costs. This stipulation of dismissal

disposes of the entire action.

                                                      s/ Dulijaza Clark
                                                      Dulijaza (Julie) Clark


Daniel A. Edelman
Cathleen M. Combs
James O. Latturner
Dulijaza Clark
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(312) 739-4200
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                                 CERTIFICATE OF SERVICE

        I, Dulijaza Clark, certify that on January 14, 2013, I caused a true and accurate copy of
the foregoing document to be served via U.S. Mail on the following party:


               Medivet America, LLC
               Medivet Lab, LLC
               Attn: Jeremy Delk
               200 Moore Drive
               Nicholasville, KY 40356



                                                      s/ Dulijaza Clark
                                                      Dulijaza (Julie) Clark



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